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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


HIGH FREQUENCY TRADING
SYSTEMS LLC,
                                                Civil Action No. 2:15-cv-1708-RWS
                      Plaintiff,

        v.

GAIN CAPITAL HOLDINGS, INC.,

                      Defendant.
    .


                                    FINAL JUDGMENT

        Pursuant to the Order Granting Plaintiff High Frequency Trading Systems LLC’s Motion

for Dismissal with Prejudice, the Court hereby enters Final Judgment.

        It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing

and that all pending motions are DENIED AS MOOT. All costs are to be borne by the party

that incurred them.

        SIGNED this 13th day of June, 2016.



                                                        ____________________________________
                                                        ROBERT W. SCHROEDER III
                                                        UNITED STATES DISTRICT JUDGE
